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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY

 JENI RIEGER, ALOHA DAVIS, JODIE CHAPMAN,                        Case No. 1:21-cv-10546 (NLH)(MJS)
 CARRIE VASSEL, KAREN BURNAUGH, TOM
 GARDEN, ADA AND ANGELI GOZON, HERNAN A.                         Motion Date: February 22, 2022
 GONZALEZ, PATRICIA A. HENSLEY, CLYDIENE
 FRANCIS, PETER and GUNNEL LOWEGARD, and                         ELECTRONICALLY FILED
 GRANT BRADLEY, individually and on behalf of a class
 of similarly situated individuals,                              ORAL ARGUMENT REQUESTED

                                Plaintiffs,
                vs.
 VOLKSWAGEN GROUP OF AMERICA, INC., a New
 Jersey corporation, d/b/a AUDI OF AMERICA, INC.,
 AUDI AG, a German corporation, and VOLKSWAGEN
 AG, a German corporation,

                                   Defendants.


                           DEFENDANT VOLKSWAGEN GROUP OF
                          AMERICA, INC.’S NOTICE OF MOTION TO
                  DISMISS THE CONSOLIDATED CLASS ACTION COMPLAINT

        PLEASE TAKE NOTICE that pursuant to Local Rule 7.1, Defendant Volkswagen Group

 of America, Inc. shall move this Court before the Hon. Noel L. Hillman, U.S.D.J., on February 22,

 2022 (or on such other date as the Court shall schedule), at the United States District Court, District

 of New Jersey, Mitchell H. Cohen Building & U.S. Courthouse, Courtroom 3A, Fourth and Cooper



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 Streets, Camden, New Jersey 08101, for an Order dismissing Plaintiffs’ Consolidated Class Action

 Complaint pursuant to Fed. R. Civ. P. 12(b)(1), 12(b)(6), and 9(b).

        PLEASE TAKE FURTHER NOTICE that in support of this motion, Defendant shall

 rely upon the accompanying Memorandum of Law, the Consolidated Class Action Complaint, the

 Declaration of Frank J. Pritzl and exhibits attached thereto, other documents filed in the case, and

 upon such other matters as may be presented to the Court at the time of the hearing. A proposed

 Order is also submitted herewith.

        Pursuant to the approved briefing schedule (Dkt. No. 49), Plaintiffs’ response to this

 Motion must be filed by January 14, 2022, and Defendant’s Reply must be filed by February 4,

 2022. The filing of this motion and the hearing date are pursuant to the Order setting the briefing

 schedule (Dkt. No. 49) and the District of New Jersey’s motion calendar.


 December 3, 2021                      HERZFELD & RUBIN, LLC

                                       By: /s/ Homer B. Ramsey
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